JS 44C/SDNY                 Case 7:23-cv-01626-KMK CIVIL
                                                    Document
                                                         COVER3SHEET
                                                                 Filed 03/02/23 Page 1 of 2
REV.
10/01/2020               The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                         other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                         United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                   DEFENDANTS
KRISTINE BAKER                                                                               RALDINO POWELL, R.N.,
                                                                                             DR. ELLEN GOMPRECHT, M.D.,
                                                                                             SUPERINTENDENT EILEEN RUSSELL
ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                          ATTORNEYS (IF KNOWN)
Amiad Kushner and Priya Lehal (Seiden Law LLP, 322 Eighth Avenue, Suite
1704, New York, NY 10001 212 523-0669)
Catherine Ryan (Prisoners' Legal Services of New York 10 Little Britain
Road Suite 301 Newburgh, NY 12550)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                          (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

42. U.S.C. Sec. 1983 - deprivation of rights under the color of law (2 counts)

                                                                                                                                                       Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                          ✔   Yes

If yes, was this case Vol.         Invol.      Dismissed. No             Yes        If yes, give date                                        & Case No. 7:23-CV-01626

IS THIS AN INTERNATIONAL ARBITRATION CASE?             No       ✖        Yes

(PLACE AN [x] IN ONE BOX ONLY)                                         NATURE OF SUIT
                               TORTS                                                                                         ACTIONS UNDER STATUTES



CONTRACT                       PERSONAL INJURY                  PERSONAL INJURY            FORFEITURE/PENALTY                BANKRUPTCY                       OTHER STATUTES
                                                                [ ] 367 HEALTHCARE/
[   ] 110   INSURANCE          [ ] 310 AIRPLANE                 PHARMACEUTICAL PERSONAL [ ] 625 DRUG RELATED                 [ ] 422 APPEAL                   [ ] 375 FALSE CLAIMS
[   ] 120   MARINE             [ ] 315 AIRPLANE PRODUCT         INJURY/PRODUCT LIABILITY                                              28 USC 158              [ ] 376 QUI TAM
                                                                                             SEIZURE OF PROPERTY
[   ] 130   MILLER ACT                   LIABILITY              [ ] 365 PERSONAL INJURY            21 USC 881                [ ] 423 WITHDRAWAL               [ ] 400 STATE
[   ] 140   NEGOTIABLE         [ ] 320 ASSAULT, LIBEL &                  PRODUCT LIABILITY                                            28 USC 157                       REAPPORTIONMENT
                                                                                           [ ] 690 OTHER
            INSTRUMENT                   SLANDER                [ ] 368 ASBESTOS PERSONAL                                                                     [ ] 410 ANTITRUST
[ ] 150     RECOVERY OF        [ ] 330 FEDERAL                           INJURY PRODUCT                                                                       [ ] 430 BANKS & BANKING
            OVERPAYMENT &                EMPLOYERS'                      LIABILITY          PROPERTY RIGHTS                                                   [ ] 450 COMMERCE
            ENFORCEMENT                  LIABILITY                                                                                                            [ ] 460 DEPORTATION
            OF JUDGMENT        [ ] 340 MARINE                   PERSONAL PROPERTY            [ ] 820 COPYRIGHTS       [ ] 880 DEFEND TRADE SECRETS ACT        [ ] 470 RACKETEER INFLU-
[ ] 151     MEDICARE ACT       [ ] 345 MARINE PRODUCT                                        [ ] 830 PATENT                                                            ENCED & CORRUPT
[ ] 152     RECOVERY OF                  LIABILITY              [ ] 370 OTHER FRAUD                                                                                    ORGANIZATION ACT
                                                                                             [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
            DEFAULTED           [ ] 350 MOTOR VEHICLE           [ ] 371 TRUTH IN LENDING                                                                               (RICO)
            STUDENT LOANS       [ ] 355 MOTOR VEHICLE                                        [ ] 840 TRADEMARK                                                [ ] 480 CONSUMER CREDIT
            (EXCL VETERANS)              PRODUCT LIABILITY                                                                   SOCIAL SECURITY
                                                                                                                                                              [ ] 485 TELEPHONE CONSUMER
[ ] 153     RECOVERY OF        [ ] 360 OTHER PERSONAL           [ ] 380 OTHER PERSONAL                                                                                 PROTECTION ACT
            OVERPAYMENT                  INJURY                                              LABOR                           [ ] 861 HIA (1395ff)
            OF VETERAN'S        [ ] 362 PERSONAL INJURY -                PROPERTY DAMAGE                                     [ ] 862 BLACK LUNG (923)
            BENEFITS                     MED MALPRACTICE        [ ] 385 PROPERTY DAMAGE      [ ] 710 FAIR LABOR              [ ] 863 DIWC/DIWW (405(g))       [ ] 490 CABLE/SATELLITE TV
[ ] 160     STOCKHOLDERS                                                 PRODUCT LIABILITY             STANDARDS ACT         [ ] 864 SSID TITLE XVI           [ ] 850 SECURITIES/
            SUITS                                                                            [ ] 720 LABOR/MGMT              [ ] 865 RSI (405(g))                      COMMODITIES/
[ ] 190     OTHER                                             PRISONER PETITIONS                       RELATIONS                                                       EXCHANGE
            CONTRACT                                          [ ] 463 ALIEN DETAINEE         [ ] 740 RAILWAY LABOR ACT                                        [ ] 890 OTHER STATUTORY
[ ] 195     CONTRACT                                          [ ] 510 MOTIONS TO             [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS
                                                                                                                                                                       ACTIONS
            PRODUCT            ACTIONS UNDER STATUTES                  VACATE SENTENCE       LEAVE ACT (FMLA)
            LIABILITY                                                  28 USC 2255                                         [ ] 870 TAXES (U.S. Plaintiff or   [ ] 891 AGRICULTURAL ACTS
[ ] 196 FRANCHISE              CIVIL RIGHTS                   [ ] 530 HABEAS CORPUS          [ ] 790 OTHER LABOR                     Defendant)               [ ] 893 ENVIRONMENTAL
                                                              [ ] 535 DEATH PENALTY                    LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                          [ ] 540 MANDAMUS & OTHER           [ ] 791 EMPL RET INC                    26 USC 7609              [ ] 895 FREEDOM OF
                               [ ] 440 OTHER CIVIL RIGHTS
                                                                                                       SECURITY ACT (ERISA)                                            INFORMATION ACT
                                        (Non-Prisoner)
REAL PROPERTY                                                                                                                                                 [ ] 896 ARBITRATION
                                [ ] 441 VOTING                                               IMMIGRATION                                                      [ ] 899 ADMINISTRATIVE
[ ] 210        LAND             [ ] 442 EMPLOYMENT              PRISONER CIVIL RIGHTS
               CONDEMNATION     [ ] 443 HOUSING/                                           [ ] 462 NATURALIZATION                                               PROCEDURE ACT/REVIEW OR
[ ] 220        FORECLOSURE                ACCOMMODATIONS                                             APPLICATION                                                APPEAL OF AGENCY DECISION
                                                                [✖] 550 CIVIL RIGHTS
[ ] 230        RENT LEASE &     [ ] 445 AMERICANS WITH          [ ] 555 PRISON CONDITION   [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
               EJECTMENT                  DISABILITIES -        [ ] 560 CIVIL DETAINEE               ACTIONS                                                   STATE STATUTES
[ ] 240        TORTS TO LAND              EMPLOYMENT                CONDITIONS OF CONFINEMENT
[ ] 245        TORT PRODUCT      [ ] 446 AMERICANS WITH
               LIABILITY                  DISABILITIES -OTHER
[ ] 290        ALL OTHER          [ ] 448 EDUCATION
               REAL PROPERTY




            Check if demanded in complaint:
                                                                         DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
            CHECK IF THIS IS A CLASS ACTION                              AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
            UNDER F.R.C.P. 23                                            IF SO, STATE:

DEMAND $TBD                           OTHER                              JUDGE                                                         DOCKET NUMBER

Check YES only if demanded in complaint
JURY DEMAND:                YES       NO                                 NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                         Case 7:23-cv-01626-KMK Document 3 Filed 03/02/23 Page 2 of 2
 (PLACE AN x IN ONE BOX ONLY)                                                   ORIGIN
  ✖1 Original                                                                                                                        Multidistrict               Appeal to District
                          2 Removed from                  3 Remanded        4 Reinstated or            5 Transferred from        6   Litigation
                                                                                                                                                             7   Judge from
      Proceeding            State Court                     from              Reopened                   (Specify District)
                                                                                                                                     (Transferred)               Magistrate Judge
                                                            Appellate
                           a.   all parties represented
                                                            Court
                                                                                                                                 8 Multidistrict Litigation (Direct File)
                           b.   At least one party
                                is pro se.
 (PLACE AN x IN ONE BOX ONLY)                                       BASIS OF JURISDICTION                                                 IF DIVERSITY, INDICATE
    1 U.S. PLAINTIFF            2 U.S. DEFENDANT           ✖   3 FEDERAL QUESTION    4 DIVERSITY                                          CITIZENSHIP BELOW.
                                                                 (U.S. NOT A PARTY)

                                  CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
        (Place an [X] in one box for Plaintiff and one box for Defendant)

                                PTF    DEF                                                    PTF DEF                                                             PTF       DEF
 CITIZEN OF THIS STATE          [ ]1   [ ]1       CITIZEN OR SUBJECT OF A                     [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                   [ ]5      [ ]5
                                                   FOREIGN COUNTRY                                             OF BUSINESS IN ANOTHER STATE

 CITIZEN OF ANOTHER STATE       []2    []2        INCORPORATED or PRINCIPAL PLACE             []4[]4           FOREIGN NATION                                     []6       []6
                                                   OF BUSINESS IN THIS STATE

 PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Kristine Baker
c/o 322 Eighth Avenue, Suite 1704, New York, New York 10001
c/o 10 Little Britain Road Suite 301 Newburgh, NY 12550

 DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
 Raldino Powell, R.N.
 c/o Bedford Hills Correctional Facility
 247 Harris Road
 Bedford Hills, NY 10507-2400
 Dr. Ellen Gomprecht, M.D.
 c/o Bedford Hills Correctional Facility
 247 Harris Road
 Bedford Hills, NY 10507-2400
 Supt Eileen Russell
 c/o Bedford Hills Correctional Facility
 247 Harris Road
 Bedford Hills, NY 10507-2400

 DEFENDANT(S) ADDRESS UNKNOWN
 REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
 THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:
                                                                   COURTHOUSE ASSIGNMENT
 I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or
                                                                       21.

 Check one:    THIS ACTION SHOULD BE ASSIGNED TO:                                 ✖   WHITE PLAINS                                MANHATTAN

 DATE 2/27/2023                                                                                        ADMITTED TO PRACTICE IN THIS DISTRICT
                                SIGNATURE OF ATTORNEY OF RECORD                                        [ ] NO
                                                                                                       [✖] YES (DATE ADMITTED Mo. Jan Yr. 2022 )
 RECEIPT #                                                                                             Attorney Bar Code # 5931944


 Magistrate Judge is to be designated by the Clerk of the Court.

 Magistrate Judge                                                                                                             is so Designated.

 Ruby J. Krajick, Clerk of Court by                                 Deputy Clerk, DATED                                                     .

 UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
